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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Yesenia Esparza individually and on behalf of
other employees similarly situated, Plaintiff
v.
                                                                          Case No. 1:16-cv-7146
LNN, Inc., MNN, Inc., Wing Brothers, Inc.,
Michael Nardello, and Nick Nardello,
individually, Defendants

                  MOTION FOR COURT APPROVAL OF SETTLEMENT
                     AND DISMISSAL OF PLAINTIFF’S CLAIMS

       NOW COMES the Plaintiff through counsel, and moves the Court to approve the

settlement entered between Defendants and Plaintiff and submitted to the Court for in camera

inspection. In support of the motion, the Plaintiff states:

1. On July 11, 2016, Plaintiff filed a Complaint in the United States District Court for the

   Northern District of Illinois, Eastern Division (the “Court”) against Defendants alleging

   violations of the Fair Labor Standards Act (“FLSA”) and the Illinois Minimum Wage Law

   (“IMWL”).

2. Following negotiations between counsel for Defendants (John A. Doerrer who did not file an

   appearance in the instant matter to conserve resources) and counsel for Plaintiff Valentin T.

   Narvaez, Defendants and Plaintiff have reached a mutually satisfactory settlement.

3. When an employee asserts a claim against his employer or former employer for wages under

   the FLSA or IMWL, any settlement of that claim requires a court to review the settlement for

   fairness. Walton v. United Consumers Club, Inc., 786 F.2d 303, 306 (7th Cir. 1986) (FLSA);

   Lewis v. Giordano’s Enters., Inc., 921 N.E.2d 740, 751 (1st Dist. 2009) (IMWL).

4. The Confidential Settlement Agreement and General Release (the “Agreement”) entered into

   between Plaintiff and Defendants will be submitted to the Court for in camera inspection.
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5. The Parties request the Court approve the Agreement because it is a fair and reasonable

   resolution of bona fide disputes over wages under the FLSA and IMWL between Plaintiff

   and Defendants.

6. Upon approval of the Agreement, the Parties further request the dismissal of Plaintiff’s

   claims without prejudice that will become with prejudice on September 10, 2016, absent a

   motion to enforce the Parties’ settlement of this matter, and with each party to bear his or its

   own attorneys’ fees and costs except as otherwise agreed.

       WHEREFORE, for the foregoing reasons, Plaintiff and Defendants respectfully request

that this Court enter an Order approving the Confidential Settlement Agreement and General

Release as a fair and reasonable resolution of bona fide disputes under the FLSA and IMWL

between Plaintiff and Defendants, and dismiss without prejudice that will become with prejudice

on September 10, 2016, absent a motion to enforce the Parties’ settlement of this matter, and

with each party to bear his or its own attorneys’ fees and costs except as otherwise agreed.

Respectfully submitted,

s/ Valentin T. Narvaez
Plaintiff’s counsel
Consumer Law Group, LLC
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Chicago, IL 60646
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vnarvaez@yourclg.com




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                                CERTIFICATE OF SERVICE

       I, Valentin T. Narvaez, an attorney, hereby certify that on August 15, 2016, I

electronically filed a copy of the foregoing Motion for Court Approval of Settlement and

Dismissal of Plaintiff’s Claims with the Clerk of the Court using the CM/ECF system, and

sent, by regular US mail a copy to:

                                          John A. Doerrer
                                      1705 N. Rutherford Ave.
                                         Chicago IL 60707


                                                   By: /s/ Valentin T. Narvaez
                                                      Plaintiff’s Counsel




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